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                                            IN​ ​THE​ ​UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                                      FOR​ ​THE​ ​DISTRICT​ ​OF​ ​UTAH,​ ​NORTHERN​ ​DIVISION


In​ ​Re​ ​Interest​ ​of​ ​I.F.​ ​a​ ​minor​ ​child;​ ​Sherrie​ ​and
Michael​ ​Fazzio,                                                                  AMDENDED​ ​COMPLAINT
           Plaintiffs,
                                                                                   Civil​ ​No.:​ ​1:17-cv-00132-RJS
v.
                                                                                                   Judge
The​ ​Standard​ ​Examiner.,
                                                                                   JURY​ ​TRIAL​ ​REQUESTED
Sandusky​ ​Newspaper​ ​Inc.,
Weber​ ​County,
Acucom​ ​Corporation,​ ​aka​ ​Records​ ​Finder
       Defendants.



                 Plaintiffs,​ ​I.F.​ ​a​ ​minor​ ​child,​ ​through​ ​his​ ​legal​ ​guardian​ ​Sherrie​ ​and​ ​Michael​ ​Fazzio,​ ​and

Sherrie​ ​and​ ​Michael​ ​Fazzio​ ​in​ ​their​ ​individual​ ​capacities​ ​now​ ​bring​ ​this​ ​action​ ​by​ ​and​ ​through

their​ ​legal​ ​counsel,​ ​Brian​ ​K.​ ​Jackson​ ​of​ ​Brian​ ​K.​ ​Jackson,​ ​LLC​ ​in​ ​the​ ​United​ ​States​ ​District

Court​ ​for​ ​the​ ​District​ ​of​ ​Utah,​ ​Central​ ​Division​ ​and​ ​hereby​ ​allege​ ​and​ ​complain​ ​the​ ​following

facts​ ​and​ ​requests​ ​this​ ​court​ ​that​ ​compensation​ ​for​ ​damages​ ​that​ ​have​ ​been​ ​incurred​ ​thereby​ ​be

entered​ ​based​ ​on​ ​the​ ​foregoing​ ​legal​ ​causes​ ​of​ ​actions:

                                                  PARTIES,​ ​JURISDICTION,​ ​VENUE

                 1.                  Plaintiff, I.F. is a minor child under the age of 16 years. Plaintiffs, Michael and


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Sherrie Fazzio are the legal guardians of the minor child and bring this action on his behalf.

Plaintiffs, Sherrie and Michael Fazzio are also bringing this action in their own individual

capacities. Plaintiffs are residents of Weber County and have been for more than six months. The

minor child has resided in Weber County for more than six months. There are no other actions

pending in regards to this action or in regards to the minor child and his legal custody in this

jurisdiction​ ​or​ ​another​ ​jurisdiction.

                 2.                  (Defendant #1), The Standard Examiner, is a subsidiary of Sandusky Newspaper

Inc. and is a media company involved in the gathering and publishing of news and advertising

for the general public primarily in the Weber County, Utah region and whose primary location is

located​ ​in​ ​Ogden,​ ​Utah.

                 3.                  (Defendants #2), Sandusky Newspaper Inc. is a media company involved in the

gathering and publishing of news and advertising for the general public and controls and owns

The​ ​Standard​ ​Examiner.​ ​Their​ ​principal​ ​primary​ ​headquarters​ ​are​ ​located​ ​in​ ​Sandusky,​ ​Ohio.

                 4.                  (Defendant #3) Weber County as a government entity with the duties of enacting

and providing legislation on behalf of the public within its county boundaries authorized under

its​ ​own​ ​legislation,​ ​state​ ​legislation​ ​and​ ​the​ ​10th​ ​Amendment​ ​of​ ​the​ ​United​ ​States.

                 5.                  (Defendant #4) The company Acucom Corporation which is a business that hosts

the website “Policearrests.com” and the agency and entity “Records Finder” that posts

information about individuals that were recently arrested. The company’s primary headquarters

are​ ​located​ ​Boylston,​ ​MA.

                 6.                  Venue is proper in this Court pursuant to 28 USC Section 1391 in that a

substantial​ ​part​ ​of​ ​the​ ​claims​ ​occurred​ ​within​ ​this​ ​Federal​ ​Jurisdiction.



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                 7.                  Subject matter jurisdiction is proper pursuant to 42 U.S.C Section 1983 with a

matter arising under a federal law as well as 28 U.S.C. Section 1332 for a matter arising under a

case involving entities that are incorporated outside of the state of Utah for claims alleged under

the common law in regards to tort the state of Utah abides by and has implemented and this court

having original subject matter jurisdiction to the adjudication of those claims which occurred in

Weber​ ​County,​ ​Utah​ ​and​ ​an​ ​amount​ ​in​ ​controversy​ ​being​ ​in​ ​excess​ ​of​ ​$75,000.

                 8.                  Personal Jurisdiction over the defendants is proper as The Standard Examiner and

Weber County are entities located in the State of Utah. Sandusky Newspaper Inc. is a parent

company of the Standard Examiner and therefore has personal contacts within the state of Utah.

Records Finder has contacts in the state of Utah with the nature of the company is compiling and

distributing records related to individuals located in the State of Utah. Plaintiff also sent a notice

to commence action to Weber County six months within the date of the alleged occurrence prior

to​ ​commencing​ ​this​ ​action.

                                                      GENERAL​ ​ALLEGATIONS

                 9.                  I.F. is a minor child who was charged with allegations through the Weber County

Juvenile Center. The incidents occurred on or before February 21st, 2017. He was 16 years of

age​ ​at​ ​the​ ​time​ ​this​ ​incident​ ​happened.

                 10.                 On Monday, April 10th, I.F. and his mother attended a legal proceeding with the

Juvenile​ ​Court​ ​that​ ​ultimately​ ​resolved​ ​the​ ​issues.

                 11.                 Part of the resolution included I.F. to get fingerprinted by an employee and

Juvenile Justice Services or local law enforcement with 120 days as ordered by the Juvenile

Court.



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                 12.                 The legal proceedings, charges, history and court documents with I.F. through the

Weber County Juvenile Center ​were not open to inspection by the general public pursuant to

Utah Code 78A-6-209 and the judge that presided over the matter had not consented to any

disemination of the minor child’s information to the general public. As well as under Utah Code

Ann.​ ​78A-6-1206​ ​in​ ​regards​ ​to​ ​liability​ ​dealing​ ​with​ ​a​ ​youth.

                 13.                 This is the first time I.F. had ever been in any kind of trouble and the legal

guardians and parents of I.F. decided to handle the matter privately. Only a few close friends and

family members were told about the incident. None of I.F. peers or friends knew about the

incident.

                 14.                 I.F. was also facing disciplinary proceedings on the Weber County School District

Level. The School District understood the nature of the proceedings and the need for privacy in

regards to resolving the matter as a result, I.F. had gone through a legal proceeding with the

School District and no individual knew or was aware of the proceedings except for the

authorized​ ​administrators​ ​and​ ​parties​ ​involved.

                 15.                 On that same day, Monday, April 10th, I.F. went to the Weber County Adult

Detention center operated and controlled by Weber County and the Weber County Sheriff's

office​ ​for​ ​fingerprinting.

                 16.                 I.F. with is legal guardian, handed I.F. the proper documentation to apprise the

Weber County Adult Detention that I.F. was a minor child and that his mother was his legal

guardian.

                 17.                 As a result, the Weber County detention center cleared the booking area of all

adults before booking I.F. There the booking officer asked if I.F.’s mother was the legal guardian



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of the minor child of which I.F.’s mother affirmed and handed the booking officer the

information​ ​regarding​ ​the​ ​minor​ ​child.

                 18.                 The booking officer had a copy of the order from the judge indicating that two of

the​ ​three​ ​charges​ ​were​ ​dropped​ ​and​ ​the​ ​other​ ​two​ ​were​ ​resolved.

                 19.                 The following night, on Tuesday, April 11th, 2017, I.F. received a social media

message from two different friends with his full name, three adult criminal charges and his

picture​ ​attached.

                 20.                 The information was found on the local Standard Examiner newspaper on their

section​ ​of​ ​the​ ​local​ ​website​ ​called​ ​“Mugshots.”

                 21.                 On the front page at the top of the website, standard.net the website has a menu

with​ ​four​ ​main​ ​tabs,​ ​“Digital​ ​Edition,”​ ​“Obituaries,”​ ​“Mugshots,”​ ​“Events,”​ ​and​ ​“Advertise.”

                 22.                 The section also had a revolving wheel to click through the pictures and I.F.’s

picture​ ​was​ ​seen​ ​with​ ​other​ ​adult​ ​detention​ ​individuals​ ​that​ ​were​ ​booked​ ​for​ ​that​ ​day.

                 23.                 The picture also had the stamp which included: “Weber County Sheriff's Office”

and below the picture was attached the phrase, “Jailing on: 04/10/17” as well as the phrase,

“Booked in Jail” indicating that the individual had been booked into the County Jail and either

was in jail or spent time in jail and if they were no longer in jail, that they had been released

through a bond amount or that a judge ordered that they were released on their own

recognizance.

                 24.                 A​ ​statement​ ​on​ ​the​ ​website​ ​also​ ​states​ ​that​ ​“Those​ ​appearing​ ​here​ ​have​ ​not​ ​been

convicted of the arrest charge and are presumed innocent” indicating that I.F. still had pending

charges​ ​against​ ​him​ ​at​ ​that​ ​time.



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                 25.                 One of the charges on the website also included the phrase after the charge, “by a

minor.”

                 26.                 I.F.’s​ ​picture​ ​was​ ​between​ ​two​ ​other​ ​pictures​ ​of​ ​adult​ ​offenders.

                 27.                 Two of the charges that were attached to I.F. had been dropped that day and was

no longer facing those charges. Also, the charges for minor children are civil in nature and not

criminal​ ​charges.

                 28.                 I.F.’s​ ​mugshot​ ​and​ ​charges​ ​were​ ​also​ ​found​ ​on​ ​the​ ​webpage​ ​“policearrests.com”

                 29.                 The Weber County Sheriff's Office had implemented a policy with the use of

software that disseminates recent bookings with the Weber County Sheriff's Office to various

news sources for their use. The implementation of this software and this policy of dissemination

of information to new sources which was approved by Weber County and the Sheriff's is what

led to the dissemination of this court-protected information without the Juvenile Judge’s prior

consent​ ​of​ ​disseminating​ ​this​ ​information.

                 30.                 The Weber County Sheriff's Office also has a website where they publish recent

bookings​ ​of​ ​individuals​ ​into​ ​the​ ​Adult​ ​Detention​ ​Center​ ​and​ ​I.F.​ ​was​ ​included​ ​on​ ​that​ ​website.

                 31.                 Ms. Fazzio went to chief deputy Burton and informed him of the issue and was

told that there was nothing that could be done regarding the situation except take the information

down​ ​from​ ​the​ ​website.

                 32.                 The Fazzio’s contacted the Standard Examiner about the situation in the early

morning on April 11th, 2017. The information stayed up all day as of 4 PM. The picture was

taken​ ​down​ ​as​ ​of​ ​10​ ​PM​ ​that​ ​night​ ​but​ ​the​ ​information​ ​remained.

                 33.                 As a result of the posting of the court-sealed juvenile information, I.F. learned



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though his place of employment that several students at a different high school had his mugshot

and​ ​that​ ​it​ ​was​ ​being​ ​passed​ ​around​ ​at​ ​school.

                 34.                 At his own High School, many of I.F.’s classmates found out about the mugshot

and was subject to teasing, bullying, mocking and heckling at his school which has resulted in

I.F.’s​ ​strong​ ​negative​ ​feelings​ ​of​ ​self-worth.​ ​I.F.​ ​is​ ​currently​ ​attending​ ​counseling​ ​these​ ​issues.

                 35.                 Mr. and Mr. Fazzio have also suffered from severe emotional and psychological

trauma as a result of what has occurred including loss of motivation, deepening depression,

suicidal comments, feelings of hopelessness and helplessness, severe anxiety which includes

facing peers for the Fall 2017 school year with fear of future comments and bullying and

heckling, desires to drop out of school, anger, frustration, loss of sleep, loss of appetite, loss of

enjoyment of life, change of relationship with family members, general fear and frustration,

humiliation, loss of trust, vague complaints, stomach problems, stress, feeling degraded, loss of

friends​ ​due​ ​to​ ​his​ ​“new​ ​reputation.”

                 36.                 I.F.​ ​is​ ​now​ ​starting​ ​counseling​ ​due​ ​to​ ​the​ ​worsening​ ​depression.

                 37.                 The parents are concerned about his present mental state and have concerns for

him having a successful future. I.F. came home from school the day after his information was

disseminated​ ​and​ ​had​ ​no​ ​desire​ ​to​ ​go​ ​back​ ​to​ ​school​ ​and​ ​discussed​ ​dropping​ ​out​ ​of​ ​school.

                 38.                 As the legal guardians of the minor child, the parents had made the decision to

keep the matter private at school and in the community and trusted that the legal system, rules

and regulations would protect their minor child from any dissemination of this private

information​ ​into​ ​the​ ​public​ ​without​ ​their​ ​consent​ ​or​ ​prior​ ​court​ ​order.

                 39.                 The parents and family have suffered from the relationship with I.F. due to his



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emotional state with high levels of anger and depression, they have suffered from the same

concerns and frustrations as I.F. This has affected their interaction with other family members

with numerous family members who live in the area as well as interactions with individuals in

the community. The family has heard that individuals from the community the know have

learned​ ​about​ ​the​ ​incident​ ​11​ ​miles​ ​away​ ​from​ ​their​ ​home.

                 40.                 I.F.’s younger sibling also has had to endure heckling, stress, comments from

peers,​ ​questions​ ​from​ ​peers,​ ​anxiety​ ​at​ ​school​ ​and​ ​worsening​ ​depression.

                 41.                 The family is well-known in the community through their religious affiliations,

their affiliations with the local school districts as well as their affiliation with family members

and the reputation of Ms. Fazzio’s father and mother in the community as well as events that the

community​ ​is​ ​aware​ ​of​ ​concerning​ ​the​ ​family.

                 42.                 I.F.’s friends and peers still have his picture through social media and it can be

recirculated​ ​at​ ​anytime.

                 43.                 As a result of what has occurred, Plaintiffs have the following causes of action for

legal​ ​remedy​ ​and​ ​recourse​ ​for​ ​the​ ​damages​ ​they​ ​have​ ​incurred:


                                   CAUSE​ ​OF​ ​ACTION​ ​#1
            (AGAINST​ ​WEBER​ ​COUNTY​ ​AND​ ​ITS​ ​GOVERNMENTAL​ ​OFFICERS​ ​AND
                                         AGENCIES)

                 44.                 By reference, Plaintiff incorporates all preceding paragraphs of this Complaint as

if​ ​set​ ​forth​ ​in​ ​full​ ​herein.

                 45.                 Pursuant to 42 U.S. Code Section 1983 on depriving I.F. of his rights and

privileges:

                 46.                 Weber County and the Weber County Sheriff's office and its administrators acted


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under color of Utah statutes, rules and regulations as well as county and department regulations

customs​ ​and​ ​usage​ ​for​ ​the​ ​booking​ ​and​ ​fingerprinting​ ​of​ ​individuals.

                 37.                 For​ ​having​ ​a​ ​procedure​ ​or​ ​policy​ ​in​ ​place​ ​whether​ ​through​ ​administrative​ ​rules​ ​or

implementation​ ​of​ ​software​ ​and​ ​programs​ ​that​ ​disseminates​ ​statutory​ ​protected​ ​and​ ​judicially

protected​ ​juvenile​ ​information​ ​into​ ​the​ ​public​ ​domain​ ​regarding​ ​a​ ​juvenile​ ​civil​ ​proceeding

brought​ ​against​ ​them.

                 38.                 The​ ​dissemination​ ​of​ ​the​ ​information​ ​violated​ ​the​ ​rights,​ ​privileges​ ​and

immunities​ ​of​ ​I.F.​ ​secured​ ​by​ ​the​ ​state​ ​and​ ​federal​ ​constitution​ ​and​ ​laws.

                 39.                 The​ ​dissemination​ ​of​ ​the​ ​information​ ​violated​ ​the​ ​rights,​ ​privileges​ ​and

immunities​ ​of​ ​I.F.​ ​secured​ ​by​ ​the​ ​state​ ​and​ ​federal​ ​constitution​ ​and​ ​laws.

                 47.                 Through violating his right to have his court records held from the public without

prior​ ​consent​ ​of​ ​the​ ​Juvenile​ ​Courts.

                 48.                 Through violating his right to have his court records held from the public without

prior consent of I.F.’s legal guardians pursuant to the legal guardians 14th amendment right to

the​ ​raising​ ​and​ ​rearing​ ​of​ ​the​ ​minor​ ​child​ ​without​ ​state​ ​intervention.

                                         a. The​ ​action​ ​of​ ​which​ ​deprived​ ​Plaintiff’s​ ​liberty​ ​related​ ​to​ ​these​ ​rights.

                 49.                 I.F.’s right to have the Weber County Sheriff's Office publish truthful information

in​ ​regards​ ​to​ ​his​ ​reputation​ ​and​ ​any​ ​pending​ ​charges​ ​the​ ​county​ ​has​ ​filed​ ​against​ ​him.

                                         a. The action of which deprived Plaintiff’s liberty and property related to

                                              these​ ​rights.

                 50.                 Through I.F.’s right to have his photograph only disseminated among authorized

public​ ​entities​ ​and​ ​state​ ​and​ ​federal​ ​agencies​ ​without​ ​public​ ​access.



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                51.              His due process rights to have the state bring or declare to bring criminal charges

to the public against I.F. through the constitutional and criminal procedures set forth under Utah

and​ ​Federal​ ​law.

                52.              For​ ​failing​ ​to​ ​find​ ​probable​ ​cause​ ​before​ ​publishing​ ​these​ ​charges.

                                      a. The​ ​action​ ​of​ ​which​ ​deprived​ ​I.F.’s​ ​liberty.

                53.              For​ ​violating​ ​his​ ​right​ ​to​ ​privacy​ ​as​ ​a​ ​minor​ ​child.

                54.              For publishing pending criminal charges that had already been resolved and

dismissed and for portraying that I.F. had been booked into the Weber County Detention Center

and​ ​was​ ​facing​ ​adult​ ​criminal​ ​charges​ ​instead​ ​of​ ​juvenile​ ​civil​ ​proceedings.

                55.              That the county had no legal policy enacted to curtail the unlawful dissemination

of public information even after giving notice to a Chief Deputy of Weber County which resulted

in​ ​further​ ​damages​ ​to​ ​Plaintiff.

                56.              The​ ​action​ ​of​ ​which​ ​caused​ ​damages​ ​to​ ​I.F.​ ​and​ ​his​ ​parents.

                                            Cause​ ​of​ ​Action​ ​#2
Against​ ​all​ ​defendants​ ​for​ ​defamation​ ​of​ ​character​ ​regarding​ ​a​ ​private​ ​individual​ ​involving
                                              a​ ​private​ ​affair

                57.              For publishing unprivileged and unlawfully obtained information that was

judicially sealed and protected and was not open to the general public without prior consent of

the juvenile court regarding the identity of I.F., his countenance and image through photograph

and the charges that were used in the Juvenile proceeding on each defendant’s website

respectfully.

                58.              The information of which was false as I.F. at that time had no legal charges

pending​ ​against​ ​him.



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                                 a.​ ​He​ ​had​ ​no​ ​legal​ ​adult​ ​criminal​ ​charges​ ​pending​ ​against​ ​him​ ​or​ ​any​ ​charges

                pending​ ​from​ ​the​ ​state.

                                 b.​ ​He​ ​had​ ​not​ ​been​ ​booked​ ​into​ ​the​ ​adult​ ​detention​ ​center​ ​and​ ​was​ ​only​ ​there​ ​for

                fingerprinting​ ​as​ ​ordered​ ​by​ ​the​ ​court.

                                 c.​ ​He​ ​had​ ​not​ ​served​ ​time​ ​in​ ​the​ ​Adult​ ​Detention​ ​Center​ ​for​ ​the​ ​proceedings​ ​and

                he​ ​was​ ​not​ ​out​ ​on​ ​bail​ ​for​ ​his​ ​charges​ ​nor​ ​was​ ​he​ ​released​ ​by​ ​a​ ​judge​ ​on​ ​his​ ​own

                recognize​ ​on​ ​these​ ​charges.

                                 d.One​ ​of​ ​the​ ​had​ ​been​ ​dropped​ ​prior​ ​to​ ​the​ ​dissemination​ ​of​ ​the​ ​information​ ​and

the​ ​others​ ​had​ ​been​ ​resolved.

                                 e.​ ​Despite​ ​this,​ ​the​ ​Defendant’s​ ​published​ ​information​ ​indicating​ ​that​ ​I.F.​ ​had

                                 been​ ​booked​ ​for​ ​those​ ​criminal​ ​charges​ ​brought​ ​by​ ​the​ ​Weber​ ​County​ ​Sheriff’s

                                 Adult​ ​Detention​ ​Center​ ​and​ ​that​ ​those​ ​criminal​ ​charges​ ​were​ ​pending​ ​against​ ​him.

                                 f.​ ​For​ ​failing​ ​to​ ​cite​ ​the​ ​distinction​ ​to​ ​the​ ​general​ ​public​ ​that​ ​I.F.​ ​was​ ​a​ ​minor​ ​child

                                 and​ ​that​ ​he​ ​had​ ​Juvenile​ ​civil​ ​proceedings​ ​brought​ ​against​ ​him​ ​and​ ​not​ ​adult

                                 criminal​ ​proceedings.​ ​(see​ ​Utah​ ​Code​ ​Ann.​ ​78A-6-116​ ​(1)​ ​and​ ​(2)​ ​Minor's​ ​cases

                                 considered​ ​civil​ ​proceedings​ ​--​ ​Adjudication​ ​of​ ​jurisdiction​ ​by​ ​juvenile​ ​court​ ​not

                                 conviction​ ​of​ ​crime​ ​--​ ​Exceptions​ ​--​ ​Minor​ ​not​ ​to​ ​be​ ​charged​ ​with​ ​crime​ ​--

                                 Exception​ ​--​ ​Traffic​ ​violation​ ​cases​ ​--​ ​Abstracts​ ​to​ ​Department​ ​of​ ​Public​ ​Safety)).

                61.              Which​ ​by​ ​natural​ ​consequence​ ​caused​ ​actual​ ​damages.

                62.              Of​ ​which​ ​defendants​ ​should​ ​be​ ​found​ ​strictly​ ​liable.

                                                                Cause​ ​of​ ​Action​ ​#3
                                                      Against​ ​all​ ​defendants​ ​for​ ​false​ ​light

                63.              For​ ​putting​ ​I.F.​ ​in​ ​a​ ​false​ ​light​ ​in​ ​the​ ​public​ ​eye.


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                64.              For​ ​creating​ ​a​ ​publicity​ ​which​ ​placed​ ​I.F.​ ​in​ ​a​ ​false​ ​light​ ​in​ ​the​ ​public​ ​eye

                                        i.   when​ ​he​ ​was​ ​placed​ ​onto​ ​the​ ​adult​ ​booking​ ​page,​ ​indicating​ ​false

                                             information​ ​that​ ​I.F.​ ​was​ ​arrested​ ​and​ ​booked​ ​into​ ​an​ ​adult​ ​detention

                                             center​ ​on​ ​April​ ​10th.

                                                  1. Juveniles​ ​cannot​ ​be​ ​placed​ ​in​ ​an​ ​adult​ ​detention​ ​center​ ​without​ ​a

                                                       prior​ ​court​ ​order​ ​(see​ ​Utah​ ​Code​ ​78A-6-7-703(12)

                                                            a. “A​ ​minor​ ​16​ ​years​ ​of​ ​age​ ​or​ ​older​ ​whose​ ​conduct​ ​or

                                                                 condition​ ​endangers​ ​the​ ​safety​ ​or​ ​welfare​ ​of​ ​others​ ​in​ ​the

                                                                 juvenile​ ​detention​ ​facility​ ​may,​ ​by​ ​court​ ​order​ ​that​ ​specifies

                                                                 the​ ​reasons,​ ​be​ ​detained​ ​in​ ​another​ ​place​ ​of​ ​confinement

                                                                 considered​ ​appropriate​ ​by​ ​the​ ​court,​ ​including​ ​jail​ ​or​ ​other

                                                                 place​ ​of​ ​confinement​ ​for​ ​adults.”

                                       ii.   And​ ​inferring​ ​that​ ​at​ ​that​ ​time,​ ​he​ ​was​ ​processed​ ​for​ ​new​ ​charges​ ​brought

                                             against​ ​him,​ ​which​ ​instead​ ​he​ ​had​ ​resolved​ ​the​ ​day​ ​before​ ​in​ ​Juvenile

                                             Court.​ ​(As​ ​already​ ​noted,​ ​Juvenile​ ​proceedings​ ​for​ ​state​ ​and​ ​federal

                                             criminal​ ​statutory​ ​violations​ ​are​ ​not​ ​criminal​ ​proceedings,​ ​they​ ​are​ ​civil

                                             proceedings​ ​(see​ ​Utah​ ​Code​ ​Ann.​ ​78A-6-116​ ​(1)​ ​and​ ​(2)).

                                      iii.   The​ ​information​ ​of​ ​which​ ​caused​ ​distress​ ​and​ ​ridicule​ ​to​ ​I.F.​ ​and​ ​his

                                             family​ ​which​ ​was​ ​not​ ​invited.

                                                                                           1. The​ ​information​ ​of​ ​which​ ​is​ ​also

                                                       false​ ​as​ ​it​ ​infers​ ​that​ ​I.F.​ ​was​ ​charged​ ​under​ ​adult​ ​charges​ ​either​ ​by

                                                       court​ ​order​ ​from​ ​a​ ​judge​ ​or​ ​as​ ​an​ ​emancipated​ ​minor.



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                                      iv.    and​ ​which​ ​was​ ​highly​ ​objectionable​ ​to​ ​a​ ​reasonable​ ​person​ ​given​ ​the

                                             statutory​ ​and​ ​judicial​ ​protections​ ​on​ ​juvenile​ ​information​ ​that​ ​the​ ​courts

                                             and​ ​governmental​ ​agencies​ ​strictly​ ​adhere​ ​to.

                     Cause​ ​of​ ​Action​ ​#4​ ​(Against​ ​Weber​ ​County​ ​and​ ​its​ ​government​ ​agencies)
                          For​ ​public​ ​disclosure​ ​of​ ​embarrassing​ ​private​ ​facts​ ​about​ ​I.F.

                65.              Public​ ​disclosure​ ​of​ ​Embarrassing​ ​Private​ ​Facts​ ​about​ ​I.F.

                         a. For​ ​disclosing​ ​embarrassing​ ​private​ ​facts​ ​not​ ​available​ ​to​ ​the​ ​public​ ​or​ ​a​ ​matter​ ​of

                public​ ​concern​ ​given​ ​the​ ​statutory​ ​and​ ​judicial​ ​protections,

                                        i.   information​ ​of​ ​which​ ​concerned​ ​I.F​ ​and

                                       ii.   after​ ​being​ ​notified​ ​by​ ​I.F.’s​ ​parents​ ​about​ ​the​ ​circumstances​ ​and

                                             thereafter​ ​leaving​ ​the​ ​information​ ​on​ ​their​ ​webpage,

                                      iii.   for​ ​unlawfully​ ​obtaining​ ​the​ ​information​ ​without​ ​a​ ​court​ ​order​ ​(See​ ​Utah

                                             Code​ ​78-6-2-209(3))

                                      iv.    for​ ​unlawfully​ ​obtaining​ ​and​ ​using​ ​the​ ​photograph​ ​of​ ​I.F.​ ​as​ ​they​ ​are​ ​not

                                             permitted​ ​to​ ​do​ ​so​ ​through​ ​statute​ ​(see​ ​Utah​ ​Code

                                             78A-6-1104(8)(a)(i)(ii)(iii)

                                                  1. “Photographs​ ​taken​ ​under​ ​this​ ​section​ ​may​ ​be​ ​distributed​ ​or

                                                       disbursed​ ​to​ ​the​ ​following​ ​individuals​ ​or​ ​agencies:​ ​i.​ ​state​ ​and

                                                       local​ ​law​ ​enforcement​ ​agencies;​ ​ii.​ ​the​ ​judiciary;iii.​ ​and​ ​the

                                                       Division​ ​of​ ​Juvenile​ ​Justice​ ​Services.”.

                b.               And​ ​the​ ​information​ ​of​ ​which​ ​is​ ​highly​ ​objectionable​ ​to​ ​a​ ​reasonable​ ​person​ ​given

the​ ​purpose​ ​of​ ​the​ ​juvenile​ ​system​ ​and​ ​its​ ​protections.

                                               Cause​ ​of​ ​Action​ ​#4​ ​(Against​ ​all​ ​Defendants)
                                              For​ ​Intentional​ ​Infliction​ ​of​ ​Emotional​ ​Distress
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                66.              In​ ​that​ ​Weber​ ​County​ ​and​ ​its​ ​affiliated​ ​agencies​ ​enacted​ ​software,​ ​policy​ ​and

procedures​ ​that​ ​allowed​ ​a​ ​minor​ ​child​ ​and​ ​their​ ​legal​ ​juvenile​ ​proceedings​ ​be​ ​published​ ​to​ ​the

public​ ​without​ ​prior​ ​court​ ​consent.

                67.              In​ ​that​ ​the​ ​actions​ ​of​ ​Weber​ ​County​ ​and​ ​their​ ​affiliates​ ​were​ ​done​ ​knowingly​ ​or

with​ ​reckless​ ​disregard​ ​and​ ​had​ ​a​ ​likelihood​ ​of​ ​causing​ ​emotional​ ​harm​ ​to​ ​Plaintiffs​ ​for

unlawfully​ ​disseminating​ ​public​ ​information​ ​of​ ​minor​ ​children​ ​to​ ​the​ ​general​ ​public​ ​without​ ​the

prior​ ​court’s​ ​consent.

                         a. In​ ​that​ ​Weber​ ​County​ ​knowingly​ ​or​ ​with​ ​reckless​ ​disregard​ ​failed​ ​to​ ​have​ ​a​ ​policy

                                 or​ ​procedure​ ​that​ ​could​ ​rectify​ ​or​ ​remedy​ ​the​ ​situation.

                68.              In​ ​that​ ​Sandusky​ ​Newspaper​ ​and​ ​its​ ​affiliates​ ​and​ ​Policerecords.com​ ​and​ ​its

affiliates​ ​acted​ ​with​ ​reckless​ ​disregard​ ​when​ ​they​ ​posted​ ​protected​ ​juvenile​ ​information​ ​on​ ​their

websites​ ​without​ ​prior​ ​authorization​ ​through​ ​the​ ​juvenile​ ​courts​ ​with​ ​charges​ ​that​ ​included,​ ​“by​ ​a

minor​ ​child.”​ ​and​ ​that​ ​Sandusky​ ​Newspaper​ ​is​ ​vicariously​ ​liable​ ​for​ ​the​ ​actions​ ​of​ ​The​ ​Standard

Examiner​ ​through​ ​acting​ ​under​ ​the​ ​purposes​ ​of​ ​Sandusky​ ​Newspaper.

                69.              And​ ​that​ ​Defendant’s​ ​conduct​ ​proximately​ ​caused​ ​the​ ​emotional​ ​distress​ ​to

Plaintiffs​ ​who​ ​were​ ​damaged​ ​thereby.

   Cause​ ​of​ ​Action​ ​#5​ ​(Against​ ​Weber​ ​County​ ​and​ ​its​ ​Governmental​ ​Officers​ ​and​ ​Affiliated
                                                    agencies)
                                           Breach​ ​of​ ​Fiduciary​ ​Duty

                70.              In​ ​that​ ​Weber​ ​County​ ​and​ ​its​ ​affiliates​ ​had​ ​a​ ​fiduciary​ ​duty​ ​relationship​ ​between

I.F.​ ​and​ ​the​ ​privacy​ ​of​ ​his​ ​court​ ​information​ ​and​ ​personal​ ​identification,​ ​given​ ​I.F.’s​ ​age,​ ​and​ ​his

inability​ ​to​ ​follow​ ​the​ ​Juvenile​ ​Court​ ​orders​ ​without​ ​Weber​ ​County​ ​to​ ​be​ ​fingerprinted​ ​and​ ​also

implication​ ​through​ ​law​ ​given​ ​the​ ​public​ ​relationship​ ​of​ ​this​ ​agency.


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                71.              That​ ​the​ ​duty​ ​was​ ​breached​ ​with​ ​the​ ​dissemination​ ​of​ ​this​ ​private​ ​court​ ​and

personal​ ​identification​ ​information.

                72.              That​ ​Weber​ ​County​ ​and​ ​its​ ​affiliates​ ​were​ ​the​ ​actual​ ​and​ ​proximate​ ​cause​ ​of​ ​the

dissemination​ ​of​ ​the​ ​information​ ​unlawfully​ ​through​ ​posting​ ​the​ ​information​ ​on​ ​their​ ​website​ ​and

to​ ​the​ ​media.

                73.              And​ ​that​ ​Plaintiffs​ ​were​ ​damaged​ ​thereby

                                                                     DAMAGES

                74.              As a result of the above-mentioned causes of action, Plaintiffs have sustained

damages​ ​including,​ ​but​ ​not​ ​limited​ ​to​ ​the​ ​following:

                         a) General​ ​damages​ ​for​ ​I.F.​ ​and​ ​his​ ​parents​ ​in​ ​a​ ​reasonable​ ​sum;

                         b) General damages for the reputation loss of the minor child within the community

                                 and​ ​the​ ​family​ ​past​ ​and​ ​future;

                         c) General damages for the loss of self worth, ridicule, humiliation, depression

                                 anxiety​ ​suffered​ ​past​ ​and​ ​future;

                         d) Special​ ​damages​ ​for​ ​all​ ​of​ ​Plaintiff’s​ ​injuries​ ​and​ ​harms;

                         e) Special damages for the pain and suffering, humiliation, anxiety, depression, loss

                                 of​ ​self​ ​worth,​ ​anxiety​ ​suffered​ ​past​ ​and​ ​future;

                         f) Consequential and out-of-pocket expenses incurred as a result of what has

                                 occurred;

                         g) Pre-​ ​and​ ​post-judgment​ ​interest,​ ​to​ ​the​ ​extent​ ​allowed​ ​by​ ​law;​ ​and

                         h) Cost,​ ​expenses,​ ​and​ ​attorneys’​ ​fees​ ​to​ ​the​ ​extent​ ​allowed​ ​by​ ​law.

                75.              The negligence and carelessness of the Defendants was so grossly negligent and



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culpable in nature that such acts and omissions constituted recklessness and wantonness in

complete disregard for the lives, safety and privacy of others and, specifically, in complete

disregard​ ​for​ ​the​ ​life,​ ​privacy​ ​of​ ​I.F,​ ​and​ ​his​ ​parents.

                76.              Defendants recklessly disregarded facts and circumstances which created an

unreasonable risk of harm to Plaintiff, and deliberately proceeded to act in conscious disregard

of, or indifference to, the risk, or recklessly proceeded in an unreasonable disregard of or

indifference​ ​to​ ​the​ ​risk.

                77.              As a result of the negligence and gross negligence and reckless, willful, and

wanton conduct of the Defendants, the Plaintiffs are entitled to recover exemplary and punitive

damages.

                78.              Punitive and exemplary damages are warranted in this action as a punishment of

the Defendants for reckless and wanton acts and as a deterrent to the Defendant and others for

committing​ ​the​ ​same​ ​or​ ​similar​ ​actions​ ​which​ ​endanger​ ​the​ ​general​ ​safety​ ​of​ ​the​ ​public.

                79.              As a direct and proximate result of the acts and omissions of Defendant as alleged

herein including, but not limited to Defendant’s negligence, gross negligence, reckless, willful

and wanton conduct, the Plaintiff is entitled to recover actual, exemplary and punitive damages

and that Sandusky Newspaper is vicariously liable for the actions of The Standard Examiner

through​ ​acting​ ​under​ ​the​ ​purposes​ ​of​ ​Sandusky​ ​Newspaper.

                                                                 JURY​ ​DEMAND

                80.              Plaintiff​ ​hereby​ ​requests​ ​trial​ ​by​ ​jury.

                                                            PRAYER​ ​FOR​ ​RELIEF

                WHEREFORE,​ ​Plaintiff​ ​prays​ ​for​ ​judgment​ ​against​ ​Defendants​ ​in​ ​the​ ​following​ ​manner:



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                         a) General​ ​damages​ ​for​ ​defamation​ ​of​ ​character;

                         b) General​ ​damages​ ​under​ ​U.S.​ ​42​ ​Section​ ​1983.

                         c) General​ ​damages​ ​for​ ​false​ ​light;

                         d) General​ ​damages​ ​for​ ​breach​ ​of​ ​fiduciary​ ​duty;

                         e) General​ ​damages​ ​for​ ​intentional​ ​infliction​ ​of​ ​emotional​ ​distress;

                         f) Special damages for all of Plaintiff’s injuries and harms and causes of actions

                                 arising​ ​under​ ​that​ ​harm;

                         g) Pre-​ ​and​ ​post-judgment​ ​interest,​ ​to​ ​the​ ​extent​ ​allowed​ ​by​ ​law;

                         h) Cost,​ ​expenses,​ ​and​ ​attorneys’​ ​fees​ ​to​ ​the​ ​extent​ ​allowed​ ​by​ ​law;

                         i) Consequential​ ​damages​ ​and​ ​out-of-pocket​ ​expenses

                         j) Exemplary​ ​damages​ ​and​ ​or​ ​punitive​ ​damages​ ​to​ ​be​ ​determined​ ​by​ ​the​ ​jury.

                                      a. Plaintiff requests $1.31 million related to I.F.’s reputation in his future

                                          career​ ​and​ ​education​ ​prospects​ ​calculated​ ​to​ ​the​ ​age​ ​of​ ​retirement.

                                      b. $8.12 million related to I.F’s reputation in the community and among

                                          peers and family members calculated with the average life expectancy of a

                                          male​ ​in​ ​the​ ​United​ ​States.

                                      c. $600,000​ ​related​ ​to​ ​I.F.’s​ ​past​ ​pain​ ​and​ ​suffering.

                                      d. $1.8 million related to I.F’s future pain and suffering calculated with the

                                          average​ ​life​ ​expectancy​ ​of​ ​a​ ​male​ ​in​ ​the​ ​United​ ​States.

                                      e. $550,000 related to the reputation suffered from the parents calculated

                                          with​ ​their​ ​average​ ​life​ ​expectancy​ ​of​ ​the​ ​parents​ ​in​ ​the​ ​community.

                                      f. $150,000 for past pain and suffering and $350,000 for future pain and



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                                         suffering of the parents for harm suffered calculated for the average life

                                         expectancy.

                                      g. Plaintiffs request that punitive damages be at least three times the amount

                                         of the actual damages suffered as described in the above paragraphs to

                                         deter defendants from causing any future harm to individuals and minor

                                         children such as I.F. as well as his parents as well as a penalty fee against

                                         defendants for the harm caused to I.F. and his parents in this instance case

                                         or​ ​greater​ ​dependent​ ​on​ ​the​ ​income​ ​and​ ​defendant’s​ ​ability​ ​to​ ​pay.


                                                                                       DATED​ ​this​ ​15th​ ​day​ ​of​ ​August,​ ​2017.

                                                                                       /s/​ ​Brian​ ​K.​ ​Jackson
                                                                                       Brian​ ​K.​ ​Jackson
                                                                                       Brian​ ​K.​ ​Jackson,​ ​LLC
                                                                                       Attorney​ ​for​ ​Plaintiffs




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